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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

WILLIAM T. COOPER, et al.,                  )
                                            )
       Plaintiffs,                          )
                                            )
vs.                                         )       Case No. 1:17-CV-00073-ACL
                                            )
CORY HUTCHESON AND SECURUS                  )
TECHNOLOGIES, INC.,                         )
                                            )
       Defendants.                          )

                                           NOTICE

       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that Defendant Securus Technologies, LLC, pursuant to Fed R.

Civ. P. 34(c) and 45(a)(4), and the attached Subpoena, has requested New Madrid County Sheriff’s

Department to produce and permit inspection and copying of the following: See attached Exhibit

A to the Subpoena.

       Said inspection and copying will be held on June 18, 2021 at 9:00 a.m., in the offices of

Briner Law Group, LLC, 424 S. Woods Mill Road, Suite 330, Chesterfield, Missouri 63017.

       Dated: June 10, 2021

                                                Respectfully submitted,

                                                BRINER LAW GROUP, LLC

                                                    /s/ Shawn T. Briner
                                                Shawn T. Briner, #MO47286
                                                424 S. Woods Mill Road, Suite 330
                                                Chesterfield, Missouri 63017
                                                Telephone: (314) 478-7227
                                                Facsimile: (314) 328-5612
                                                shawn.briner@brinerlaw.com
                                                Attorney for Defendant Securus Technologies,
                                                Inc.

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                                      Certificate of Service

       The undersigned certifies that on June 10, 2021 the foregoing was electronically filed with
the Clerk of Court for service on all attorneys of record via the Court’s electronic filing system.

                                                    /s/ Shawn T. Briner




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